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IN THE UNITED STATES DISTRICT COURT JUL 1 8 2018
FOR THE SOUTHERN DISTRICT OF ILLINOIS

CLERK, U.S. D|STR|CT COURT

UNITED STATES OF AMERICA, ) EAST sT. Louls oFFlCE

Plaintiff, §

vs. § CASENUMBER 15130'2|" N`)'Z

MICHAEL BELL, and § Title 18, United States Code,
KELLY SEEGER, ) Sections 371, 471, 472

Defendants. §

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THE GRAND JURY CHARGES:
COUNT 1

Conspiracy to Manufacture Counterfeit Obligations of the United States
l. From in and around November of 2017 to on 0r about April 9, 2018, in Madison
County, within the Southern District of Illinois, and elsewhere,

MICHAEL BELL, and
KELLY SEEGER,

defendants herein, conspired and agreed, together to commit an offense against the United States,
that is, with intent to defraud, did falsely make and counterfeit obligations of the United States and
also did conceal and possess with intent to pass counterfeited Obligations of the United States, that
is, counterfeit F ederal Reserve Notes, in violation of Title 18, United States Code, Sections 471
and 472.
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2. In furtherance of the conspiracy and to accomplish its obj ects, defendants

MICHAEL BELL and KELLY SEEGER committed the following overt acts, among others, in

the Southern District of Illinois:

$OUTHERN D|STR|CT OF |LL|NO|S

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3. On or about March 17, 2018, defendant KELLY SEEGER stole printer ink
cartridges consistent with those used by the printer utilized in the manufacture of counterfeit
Federal Reserve Notes from a local Granite City business, in Granite City, Illinois, within the
Southem District of lllinois.

4. On or about March 18, 2018, defendant KELLY SEEGER was stopped by law
enforcement and in her vehicle did have concealed items for the counterfeiting of F ederal Reserve
Notes including printers and ink consistent with those used for the manufacture of counterfeit
Federal Reserve Notes as well as uncut pages of counterfeit F ederal Reserve Notes in a binder
marked MICHAEL BELL.

5. On or about April 9, 2018, defendants MICHAEL BELL and KELLY SEEGER
were stopped by law enforcement in possession of a mutilated $100 Federal Reserve Note
consistent with those manufactured during the course of the conspiracy.

All in violation of Title 18, United States Code, Section 371.

A TRUE BILL

FOREPERSON

  

 

KEY R. KILLIAN
Assistant United States Attomey

Bond Recommendation: $10,000 unsecured

